         Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 1 of 7



                               UNITED STATES DISTRICT COURT
                                DISTRICT OF MASSACHUSETTS


    IN RE: RANBAXY GENERIC DRUG
    APPLICATION ANTITRUST                                                MDL No. 2878
    LITIGATION

    THIS DOCUMENT RELATES TO:
                                                                       Master File No.
                                                                     19-md-02878-NMG
    All Actions



              PURCHASERS’ OPPOSITION TO DEFENDANTS’ MOTION TO
              MODIFY THE JANUARY 12, 2022 MEMORANDUM & ORDER
                    REGARDING ALLOCATION OF TRIAL TIME


        Ranbaxy and Sun’s motion should be denied on procedural and substantive bases.

        First, Ranbaxy and Sun filed a false Local Rule 7.1 certification. On January 12, 2022,

the Court entered an order addressing trial time allocation and the pretrial schedule. Since

then, the defendants neither met and conferred (nor asked to speak with) the purchasers about,

e.g., modifying the trial time allocation, moving the date of the pretrial conference, or seeking

reconsideration. Earlier, during the January 6, 2022 call convened by the purchasers in an effort

to present a joint submission and proposed schedule to the Court on January 7, 2022, Ranbaxy

and Sun explicitly refused to discuss a proposed pretrial schedule. The point of meeting and

conferring on these issues is for the parties to try to work out issues; we cannot do so when the

defendants do not first raise the issues with opposing counsel. This has happened before. Their

motion should be denied on this basis alone.1

        Second, if the defendants had raised their scheduling conflicts with us, the purchasers


1At best, if wearing rose-colored glasses, the defendants’ certification could be read as referring to
communications that the purchasers initiated about why we wanted more than 50% of the trial time, which occurred
before the purchasers’ January 7, 2022 filing (ECF No. 533) and before the Court’s January 12, 2022 Order (ECF
No. 536) resolving the issue. Even that charitable construction renders the certification misleading.

                                                       1
            Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 2 of 7



would have advised Ranbaxy and Sun that we can seek to open up our schedules, but the timing

of pretrial events is really up to the Court (while still keeping, of course, the Court’s trial date

and providing sufficient time for the Court’s review of the materials). 2

           Third, as to the Court-ordered allocation of trial time, the Court’s order makes sense.

We incorporate the reasons in the purchasers’ filing and the Court’s order and comments

during the status conference. We also note that the defendants have unnecessarily contributed

to the need for the Court’s reasonable adjustment of time allocation. For example:

           On witnesses: The Court’s Case Management Order required the parties to exchange

witness lists in October. The Court has since stated that it will likely “require Ranbaxy to

produce witnesses for plaintiffs’ case-in-chief that Ranbaxy itself intends to call in its case.” 3 To

date, Ranbaxy has not told the purchasers who they are bringing live to trial.

           On fact stipulations: Ranbaxy has resisted the purchasers’ efforts to simplify the

presentation of evidence at trial. During a status conference early in the case, the parties and

the Court discussed that document admissibility issues could be addressed through either a

stipulation or RFAs. So, a year ago, in January 2021, the purchasers proposed a comprehensive

fact stipulation of uncontested facts. We followed up for months; the defendants would not

agree. In August 2021, we re-worked the stipulation into proposed RFAs. Ranbaxy refused to

accept service, refused to substantively respond to RFAs, but indicated that they would discuss

a fact stipulation after the parties exchanged exhibit lists in October. In November 2021, the

purchasers re-reformatted the document back into a (truncated) fact stipulation. In December,

the defendants finally responded, but gutted key and uncontested portions of the stipulation



2 In November, the purchasers proposed that the parties exchange jury instructions well in advance and work
together meaningfully to provide a single set of instructions that will actually aid the Court in charging the
jury. Ranbaxy and Sun have not agreed to do so.
3   See Trans. of December 21, 2021 Status Conf., at p. 21:21-23.

                                                           2
           Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 3 of 7



because—as far as the purchasers can tell—Ranbaxy and Sun simply don’t like the facts.

           On exhibits: Similarly, Ranbaxy has lodged scores of foundational and relevance

objections to uncontroversial documents reflecting uncontested facts and has, to date, refused

to withdraw them. For flavor, Ranbaxy objects to the following documents as irrelevant: (1) the

written retention agreement among alleged co-conspirators Parexel, Buc & Beardsley, and

Ranbaxy;4 (2) the FDA Warning Letter concerning GMP failures at Ranbaxy’s Paonta Sahib

facility that states none of Ranbaxy’s applications (including those for generic Diovan, Nexium,

and Valcyte) would be recommended for approval until all CGMP issues identified were

resolved;5 and (3) Ranbaxy’s own response to the FDA’s Warning Letter, which the purchasers

allege contains misrepresentations.6

           Regrettably, in light of Ranbaxy and Sun’s refusal to identify live witnesses, stipulate to

undisputed facts, and drop spurious objections to plainly relevant documents, the purchasers

will need to address all of these issues at trial. Ranbaxy and Sun’s lack of cooperation regarding

witnesses and documents complicates the sequencing and manner of the presentation of

evidence and provides an additional, independent reason to maintain the Court’s trial time

allocation in favor of the purchasers—one that may, if Ranbaxy does not “get real” about trial

logistics soon, provide a basis to increase the time allocated to purchasers.

    Dated: January 14, 2022                            Respectfully submitted,

                                                       /s/ Kristen A. Johnson
                                                       Thomas M. Sobol (BBO# 471770)
                                                       Gregory T. Arnold (BBO# 632738)

4   Marked for identification as PX0090.
5PX0049. Earlier today, Ranbaxy confirmed 198 baseless foundational objections (while dropping only 57 such
objections). As examples, Ranbaxy objects as lacking foundation: (1) the FDA’s Form 483 issued after its February
2006 inspection at Paonta Sahib (which was identified by three deponents, including Ranbaxy’s corporate
designee); and (2) a fax sent from Jay Deshmukh to Kate Beardsley in June 2006 enclosing a report detailing
serious cGMP violations and misconduct within the company (and as to which both Ms. Beardsley and Mr.
Deshmukh identified and testified to at their depositions). Id.; PX0045.
6   PX0064.

                                                        3
Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 4 of 7



                              Kristen A. Johnson (BBO# 667261)
                              Kristie A. LaSalle (BBO #692891)
                              HAGENS BERMAN SOBOL SHAPIRO LLP
                              55 Cambridge Parkway, Suite 301
                              Cambridge, MA 02142
                              Tel: (617) 482-3700
                              Fax: (617) 482-3003
                              tom@hbsslaw.com
                              grega@hbsslaw.com
                              kristenj@hbsslaw.com
                              kristiel@hbsslaw.com


                              Steve D. Shadowen (admitted pro hac vice)
                              Richard M. Brunell (BBO#544236)
                              Matthew C. Weiner (admitted pro hac vice)
                              HILLIARD & SHADOWEN LLP
                              919 Congress Ave., Suite 1325
                              Austin, TX 78701
                              Tel: (855) 344-3928
                              steve@hilliardshadowenlaw.com
                              matt@hilliardshadowenlaw.com

                              John D. Radice (admitted pro hac vice)
                              RADICE LAW FIRM
                              34 Sunset Boulevard
                              Long Beach, NJ 08008
                              Tel: (646) 245-8502
                              jradice@radicelawfirm.com

                              Paul E. Slater (admitted pro hac vice)
                              Joseph M. Vanek (admitted pro hac vice)
                              David P. Germaine (admitted pro hac vice)
                              John Bjork (admitted pro hac vice)
                              SPERLING & SLATER, P.C.
                              55 W. Monroe Street, Suite 3500
                              Chicago, IL 60603
                              Tel.: (312) 641-3200
                              pes@sperling-law.com
                              jvanek@sperling-law.com
                              dgermaine@sperling-law.com
                              jbjork@sperling-law.com
                              mslater@sperling-law.com

                              Joseph H. Meltzer (admitted pro hac vice)
                              Terence S. Ziegler (admitted pro hac vice)
                              Ethan J. Barlieb (admitted pro hac vice)
                              KESSLER TOPAZ MELTZER & CHECK, LLP
                              280 King of Prussia Road
                              Radnor, PA 19087
                              Tel: (610) 667-7706

                              4
Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 5 of 7



                              jmeltzer@ktmc.com
                              tziegler@ktmc.com
                              ebarlieb@ktmc.com

                              Kenneth A. Wexler (pro hac vice pending)
                              Tyler Story (pro hac vice pending)
                              WEXLER WALLACE LLP
                              55 W. Monroe Street, Suite 3300
                              Chicago, IL 60603
                              Tel: (312) 346-2222
                              kaw@wexlerwallace.com
                              tjs@wexlerwallace.com

                              Sharon K. Robertson (admitted pro hac vice)
                              Donna M. Evans (BBO #554613)
                              COHEN MILSTEIN SELLERS & TOLL PLLC
                              88 Pine Street, 14th Floor
                              New York, NY 10005
                              Tel: (212) 838-7797
                              srobertson@cohenmilstein.com
                              devans@cohenmilstein.com

                              Counsel for Plaintiffs Meijer, Inc., Meijer
                              Distribution, Inc., and the Direct Purchaser Class

                              Linda P. Nussbaum
                              Peter Moran
                              NUSSBAUM LAW GROUP, P.C.
                              1211 Avenue of the Americas, 40th Floor
                              New York, NY 10036-8718
                              (917) 438-9189
                              lnussbaum@nussbaumpc.com
                              pmoran@nussbaumpc.com

                              Counsel for the Direct Purchaser Class

                              Gerald Lawrence (PA ID #69079)
                              Renee A. Nolan (PA ID #316558)
                              William J. Olson (PA ID #322948)
                              LOWEY DANNENBERG, P.C.
                              One Tower Bridge
                              100 Front Street, Suite 520
                              West Conshohocken, PA 19428
                              Tel: (215) 399-4770
                              glawrence@lowey.com
                              rnolan@lowey.com
                              wolson@lowey.com

                              Peter D. St. Phillip (PA ID # 70027)
                              LOWEY DANNENBERG, P.C.
                              44 South Broadway

                              5
Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 6 of 7



                              Suite 1100
                              White Plains, New York 10601
                              Tel:(914) 997-0500
                              pstphillip@lowey.com

                              Counsel for Plaintiff United Food and Commercial
                              Workers Health and Welfare
                              Fund of Northeastern Pennsylvania and the End-
                              Payor Class

                              James R. Dugan, II
                              David S. Scalia
                              TerriAnne Benedetto
                              THE DUGAN LAW FIRM, APLC
                              One Canal Place – Suite 1000
                              365 Canal Street
                              New Orleans, LA 70130
                              (504) 648-0180
                              jdugan@dugan-lawfirm.com
                              dscalia@dugan-lawfirm.com
                              tbenedetto@dugan-lawfirm.com

                              Counsel for Louisiana Health Service and
                              Indemnity Company d/b/a Blue Cross and Blue
                              Shield of Louisiana, and HMO La., Inc. and the
                              End-Payor Class


                              Richard A. Sherburne, Jr.
                              Jessica W. Chapman
                              BLUE CROSS AND BLUE SHIELD OF LOUISIANA
                              5525 Reitz Avenue
                              P.O. Box 98029
                              Baton Rouge, Louisiana 80809
                              Tel.: (225) 295-2454
                              Fax: (225) 297-2760


                              Counsel for Louisiana Health Service and
                              Indemnity Company d/b/a Blue Cross and Blue
                              Shield of Louisiana, and HMO La., Inc.




                              6
        Case 1:19-md-02878-NMG Document 540 Filed 01/14/22 Page 7 of 7



                                CERTIFICATE OF SERVICE

       I, Kristen A. Johnson, certify that, on this date, the foregoing was filed electronically via

the Court’s CM/ECF system, which will send notice of the filing to all counsel of record, and

parties may access the filing through the Court’s system.

Dated: January 14, 2022                                      /s/ Kristen A. Johnson
                                                             Kristen A. Johnson




                                                 7
